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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                SOUTH BEND DIVISION

UNITED STATES OF AMERICA                       )
                                               )
       v.                                      )   Case No. 3:10-CR-126 JD
                                               )
JEREMIE SHENEMAN (02)                          )

                                    OPINION and ORDER

       Pending before the Court is Defendant Jeremie Sheneman’s Amended Motion for a New

Trial filed pursuant to Federal Rule of Criminal Procedure 33 [DE 138].

                                    I. Procedural History

       On October 13, 2010, an indictment was filed charging Defendants Michael Sheneman

and Jeremie Sheneman with four counts of wire fraud under 18 U.S.C. § 1343. Specifically,

count 1 of the indictment alleged that on or about October 14, 2005, the Shenemans knowingly

caused a wire transfer to be transmitted in the amount of $52,265.80 from Netbank in Georgia to

Fifth Third Bank in Ohio, and the funds were the proceeds of a mortgage loan for the purchase of

505 North Walnut Street, South Bend, Indiana by Gladys Zoleko; count 2 of the indictment

alleged that on or about October 14, 2005, the Shenemans knowingly caused a wire transfer to be

transmitted in the amount of $54,954.82 from Netbank in Georgia to Fifth Third Bank in Ohio,

and the funds were the proceeds of a mortgage loan for the purchase of 1246 Diamond Avenue,

South Bend, Indiana by Gladys Zoleko; count 3 of the indictment alleged that on or about

October 17, 2005, the Shenemans knowingly caused a wire transfer to be transmitted in the

amount of $50,509.75 from Deutsche Bank Trust Company in New York to Fifth Third Bank in

Ohio, and the funds were the proceeds of a mortgage loan for the purchase of 726 South

Brookfield Street, South Bend, Indiana by Gladys Zoleko; and, count 4 of the indictment alleged
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that on or about November 10, 2005, the Shenemans knowingly caused a wire transfer to be

transmitted in the amount of $102,033.03 from JP Morgan Chase Bank in New York to Fifth

Third Bank in Ohio, and the funds were the proceeds of a mortgage loan for the purchase of

1922 West 6th Street, Mishawaka, Indiana by Paul Davies.

       To sustain the charges, the government had to prove that the Shenemans knowingly

devised or participated in a scheme to defraud or to obtain money or property by means of false

pretenses, representations or promises, as described in the count of the indictment; that they did

so with the intent to defraud; that the false pretenses, representations or promises were material;

and, that for the purpose of carrying out the scheme or attempting to do so, they caused interstate

wire communications to take place in the manner charged in the particular count. See United

States v. Henningsen, 387 F.3d 585, 589 (7th Cir. 2004); Pattern Criminal Federal Jury

Instructions for the Seventh Circuit, p. 214.

       After a four day trial, on May 5, 2011, the jury returned a verdict finding Michael and

Jeremie Sheneman guilty on all four counts of wire fraud as charged in the indictment. After the

jury was discharged, trial counsel for Jeremie Sheneman, Mr. Robert Truitt, filed a Rule 33

motion [DE 63, 64] claiming that a new trial was warranted because the evidence was

insufficient to support the verdicts. Thereafter, Jeremie Sheneman filed a pro se letter with the

Court claiming that his convictions were the result of his trial counsel’s ineffectiveness, and

requesting that the Court appoint him a new attorney to address Mr. Truitt’s alleged

ineffectiveness in an amended Rule 33 motion [DE 69]. Given that Jeremie Sheneman wanted

his Rule 33 motion to allege the ineffectiveness of trial counsel, Mr. Robert Truitt, the Court

appointed Jeremie Sheneman new counsel, Mr. Clark Holesinger [DE 88] and gave Mr.


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Holesinger additional time to file an amended Rule 33 motion [DE 135].

         Accordingly, Mr. Holesinger filed an Amended Motion for a New Trial [DE 138] on

behalf of Jeremie Sheneman and claimed that Jeremie Sheneman’s convictions were the result of

Mr. Truitt’s alleged ineffectiveness. Mr. Holesinger’s Amended Motion for a New Trial also

incorporates the original motion’s argument that the evidence was insufficient to support the

verdicts [DE 138 at 1]. The government filed its response [DE 66, 140] and requested that the

Court enter an order waiving the attorney/client privilege between Jeremie Sheneman and Mr.

Truitt so that the government may question Mr. Truitt about the specific allegations of

ineffectiveness [DE 141]. However, the government sought such an order only if an evidentiary

hearing was necessary in the case. Id. at 3, n. 2. After the Court ordered a response [DE 142],

Mr. Holesinger confirmed that an evidentiary hearing was not needed because the defense would

not be presenting any additional evidence, but would rely on the motions and trial evidence to

support the Rule 33 motion [DE 143]. Thus, no evidentiary hearing was ordered on the motion1

and the government’s request to enter an order waiving the attorney/client privilege between

Jeremie Sheneman and Mr. Truitt is DENIED [DE 141].

         In the amended Rule 33 motion, Mr. Holesinger did not elaborate on the insufficiency of

the evidence claim, but in support of Jeremie Sheneman’s ineffective assistance claim, he

provided a long list of items that Mr. Truitt purportedly failed to do, summarized as follows:



         1
           The Court has determined that no evidentiary hearing is necessary because defense counsel has represented
that no further evidence or argument would be presented to the Court and that Mr. Sheneman’s claims rest on the
evidence presented at trial and the parties’ submissions [DE 143]. Upon review of the motions, files, and records of
the case, the Court is convinced that Mr. Sheneman has failed to present facts necessary to substantiate his
ineffective assistance claim or show that a hearing would provide any more information that could demonstrate that
he is entitled to any relief. See Yu Tian Li v. United States, 648 F.3d 524, 532 (7th Cir. 2011) (same determination
made in the context of a 28 U.S.C. § 2255 petition alleging ineffective assistance of counsel) (citing Koons v. United
States, 639 F.3d 348, 354-55 (7th Cir. 2011)).

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     1.    Defense counsel failed to clarify that per the purchase agreements, the
           seller pays the closing cost, the buyer accepts the property “as is,” and the
           buyer inspected the property prior to signing;

     2.    Defense counsel failed to clarify that buyers signed the closing documents
           and verified the information continued therein and that the property was in
           good condition given that the property was insurable, appraisals detailed
           the properties condition, and review appraisals were conducted;

     3.    Defense counsel failed to present evidence that the applications were not
           prepared by Jeremie Sheneman, Jeremie received no commission check
           from Superior Mortgage, and Jeremie was not authorized to contact the
           lenders;

     4.    Defense counsel failed to show that at least four mortgage companies were
           involved, failed to substantiate ownership of those companies which was
           not the Shenemans, and failed to clarify that several sellers were involved;

     5.    Defense counsel failed to clarify that Jeremie Sheneman was not a
           mortgage broker, loan officer, or owner of a mortgage company, and he
           was not a buyer of these properties and he did not sign the loans;

     6.    Defense counsel failed to clarify that the buyers suffered no losses on the
           properties because “they put no down payment money in the
           transaction[s],” “the buyer[s] had no out of pocket expense[s],” the lenders
           took all of the properties back when properties were abandoned, and the
           buyers made money on the rents generated;

     7.    Defense counsel failed to present evidence that the lenders took the
           property back based on their own appraisals, charged an underwriter fee
           for their service, made money on all loans after accepting the value of the
           property as listed in the appraisals, knew these were 100% loans with no
           down payment placed in escrow, and knew that the seller was paying the
           closing costs per the purchase agreement signed by the buyer;

     8.    Defense counsel failed to clarify that other sellers were involved in the
           sales and these other sellers provided the properties that were not in good
           condition;

     9.    Defense counsel failed to present evidence showing that the Shenemans
           did not put money in any accounts;

     10.   Defense counsel failed to present evidence that these were subprime loans,
           non-sourced and non-seasoned funds could be used to pay the closing

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                  costs, the loans were not asset driven loans, and the broker was aware of
                  the internal guidelines which were complied with;2

         11.      Defense counsel failed to clarify that the Shenemans were not in any
                  position to determine whether the buyers would be successful as landlords
                  and could not judge the buyers based on their “age, race, ethnic...”;

         12.      Defense counsel failed to object or file any pretrial motions limiting the
                  misleading characterization of the buyers as the victims;

         13.      Defense counsel failed to present evidence that no fraudulent paperwork
                  was presented to prove the claims and that the “same paperwork that was
                  used to interview the perspective buyer[s] was the same paperwork as the
                  original at the closing for resigning”;

         14.      Defense counsel failed to present evidence showing that Jeremie
                  Sheneman’s handwriting was not involved in the relevant documents of
                  the charged fraud;

         15.      Defense counsel failed to clarify that using a power of attorney was not
                  illegal or improper;

         16.      Defense counsel failed to object to the government’s incorrect
                  characterization of the term “down payment” money instead of proper
                  characterization as “closing cost” money, thus allowing the jury to be
                  confused;

         17.      Defense counsel failed to present evidence that the properties listed in
                  counts 1-3 of the indictment were owned by Mike Lee and F&S Properties
                  LLC;

         18.      Defense counsel was not prepared to defend Jeremie Sheneman for “acts
                  of other sellers” because Jeremie Sheneman did not have information
                  “from the company of Tri State who brokered the loan”; and

         19.      “Defense counsel failed to present evidence, fully develop evidence, and
                  respond to misleading testimony so that Jeremie Sheneman was not
                  provided a defense.”

[DE 138]. Mr. Holesinger argues that given these deficiencies, Jeremie Sheneman’s choice of


        2
          Jeremie Sheneman appears to argue that an expert witness should also have been called to testify to the
requirements of a subprime mortgage. See DE 138 at 2.

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defense was not presented by counsel, and consistent with Jones v. Barnes, 463 U.S. 745 (1983),

Jeremie Sheneman was denied his Sixth Amendment right to “select [his] attorney and to make

[his] own decisions regarding the conduct of his defense.” [DE 138-1 at 2]. Mr. Holesinger

asserts that a new trial should be granted on this basis.

       The government opposed the defendant’s request for a new trial, detailed the trial

evidence that refuted Jeremie Sheneman’s position, and argued that Jeremie Sheneman has failed

to meet his burden in demonstrating that Mr. Truitt was ineffective, that Jeremie Sheneman was

prejudiced by Mr. Truitt’s performance [DE 140], or that the evidence was insufficient to sustain

the convictions [DE 66].

       A review of the evidence introduced at trial is necessary for the Court to effectively

consider the multitude of claims raised by Jeremie Sheneman.

                                            II. The Trial

Government’s Theory of the Case

       The overarching fraudulent mortgage scheme claimed by the government was that from

2003 through 2005, Jeremie and Michael Sheneman duped four unsuspecting and

unsophisticated buyers into buying a total of sixty investment properties, with the proceeds of

the sales going to the Shenemans.

       To make the scheme successful, the Shenemans needed homes to sell, buyers to purchase

the homes, and lenders to provide financing to the buyers. To get the homes, the Shenemans

either purchased homes outright or obtained a power of attorney from sellers who wanted the

Shenemans to sell their homes for them. To get the buyers, the Shenemans convinced four

individuals to purchase properties by misrepresenting that the homes were in rentable condition,


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prohibiting access to the inside of the homes, selling properties other than the properties that the

buyers expected to purchase, misrepresenting that the properties would have tenants, and falsely

offering to help the buyers find tenants, assist with managing the properties, and even buy-back

the homes should their investment flounder. To get the lenders to issue subprime residential

mortgage loans, Michael Sheneman provided the financial backing to pad the buyers’ bank

accounts and paid for the closings costs and down payments, while Jeremie Sheneman used his

employment at Tri State Mortgage and Superior Mortgage to place false information in the loan

documents relative to the buyers’ employment income, assets, and citizenship, the source of the

funds, the intended use of the properties, and the identity of the loan officer conducting the buyer

interviews and completing the loan applications (who in reality was Jeremie Sheneman).

According to the government, the buyers never saw the completed loan applications until

closing, at which time the buyers were closing on several homes and signing vast amounts of

documents without reading them. After the mortgages issued, the four buyers discovered that

many of the properties purchased through the Shenemans were in a state of disrepair and were

not generating rent, and any assistance promised by the Shenemans was a farce.

Defendants’ Theory of the Case

       The defense theory was that although Jeremie Sheneman worked for two years at Tri

State Mortgage as a loan officer, he was never an employee at Superior Mortgage. Instead, the

Shenemans were sellers of homes. They bought properties, rehabilitated them, and sold them for

a profit. The Shenemans claimed that their names never appeared on any of the residential loan

applications (except on some purchase agreements where they were identified as the sellers),

they were not responsible for completing the loan applications, and they did nothing illegal by


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assisting buyers with closing costs given the buyer-assisted subprime lending program that was

available at the time. The Shenemans also argued that they did not provide false information to

the buyers who could have demanded to inspect the properties, the closing packet, and the

appraisals before making any purchase, and who could have walked away from any deal at any

time.

        The Shenemans maintained that it was the borrowers who verified that the information

contained in the loan applications and closing documents was truthful. And further, had the

lenders sought verification of the information contained in the loan applications, then they would

have discovered the false information (which was not provided by the Shenemans). The

Shenemans argued that their rehabilitating and selling homes did not put them in a position to

guarantee that the buyers would be able to consistently pay the mortgages.

The Evidence

        At trial, the government presented the testimony of Ms. Elinor Tyl, Mr. Eric McGinness,

and Mr. Kevin Shaw, who sold houses to the Shenemans or who provided a power of attorney to

the Shenemans to sell their homes.

        Ms. Tyl testified that she owned six rental properties and she reached an agreement to

sell them to Michael Sheneman for a bulk price that was sufficient to pay off the mortgages and

taxes. As part of the sale, Ms. Tyl executed a power of attorney to Michael Sheneman because

she could not attend all of the closings, but she understood that Michael Sheneman was buying

the houses from her. Ms. Tyl knew nothing about the mortgage proceed checks issued to her and

endorsed with her signature (but not actually signed by Ms. Tyl) with directions to pay to the

order of Michael Sheneman.


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       Similarly, Mr. McGinness owned twelve rental properties and Jeremie Sheneman agreed

to buy two of his homes. Mr. McGinness was under the impression that he was selling the

houses to Jeremie Sheneman. With respect to one of the homes, he executed a quit-claim deed to

Jeremie Sheneman and he signed a closing statement which listed Mr. McGinness as the seller

and Jeremie Sheneman as the buyer. However, the evidence also showed that on the same

property he executed a power of attorney and that a check for the mortgage proceeds was issued

to Mr. McGinness which Mr. McGinness never saw—it was endorsed (although not by him)

with directions to pay to the order of Jeremie Sheneman..

       Mr. Shaw’s story was consistent with the other sellers. Mr. Shaw owed thirty-five rental

properties in the area and testified that he sold twenty-four of his properties to Michael

Sheneman. Only after the closings did Mr. Shaw realize that the homes were not going directly

to Michael Sheneman, but instead, were sold directly to buyers that he never met. Mr. Shaw

testified that he executed a power of attorney to Michael Sheneman for only one property and

that he was not aware of the check for the mortgage proceeds which was issued to him and

endorsed with directions to pay to the order of Michael Sheneman.

       Cross examination of the sellers revealed that Ms. Tyl, Mr. McGinness, and Mr. Shaw

suffered no economic loss from their transactions with the Shenemans, and in fact, they admitted

to getting what they bargained for with the Shenemans. Further, the sellers believed that their

homes were in good condition when they were sold.

       The government presented the testimony of the four buyers who bought the sixty

properties during the course of the scheme, Ms. Gladys Zoleko, Mr. Paul Davis, Mr. David

Doolittle, and Mr. Gary Denaway. Their stories were also consistent.


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       Ms. Zoleko, a citizen of the Republic of Cameroon, came to the United States on a

student visa. In need of more money to support her family back home, she was introduced to

Jeremie Sheneman at Superior Mortgage who told her about the money she could make being a

landlord, indicated that he was selling houses that belonged to himself and Michael Sheneman,

and informed her that she would not have to pay the down payments. Jeremie Sheneman then

had Ms. Zoleko sign her name to a blank application. She never signed another document,

including purchase agreements (wherein her signature later appeared), until closing. Further,

despite loan documents which indicated that she was a citizen of the United States, Ms. Zoleko

testified that she was never asked about her citizenship. She also never indicated that 726 South

Brookfield was going to be her primary residence, but the loan application indicated that it

would be a primary residence. Similarly, she was never interviewed by Andy Beam, even though

her loan applications indicated she was. In fact, Ms. Zoleko testified that she never filled out a

single loan application.

       After going around with Michael Sheneman to see homes, although he would not allow

her to go inside or write down the addresses, she met with the Shenemans at Superior Mortgage.

During this meeting, Jeremie Sheneman recommended that she buy thirty homes; a prospect

apparently so absurd that Michael Sheneman rolled his eyes and left. Ultimately, she decided to

purchase only fourteen homes. At the closings, Michael Sheneman gave Ms. Zoleko the down

payment checks and indicated that he and Jeremie Sheneman were paying the down payments

for her. In the end, Ms. Zoleko purchased some homes that she had not selected and were in

terrible condition. Ms. Zoleko testified that Jeremie Sheneman had given her false assurances




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concerning the help he would provide relative to renting out the properties, fixing-up the

properties, and reselling them if she decided to get out of the landlord business.

       Mr. Paul Davies also testified that he came to the United States from the Republic of

Liberia on a student visa. When Mr. Davies met with Jeremie Sheneman at Superior Mortgage

in August 2005 to purchase rental properties, Mr. Davies stated that he signed only one piece of

paper, never filled out any loan applications, never indicated that he was a citizen of the United

States, and never signed any other documents until closing (even though his signature appeared

on other documents including purchase agreements). The Shenemans took Mr. Davies to see

properties but would not let him go inside the homes because they were allegedly occupied with

renters. Mr. Davies bought thirteen or fourteen properties, and he never paid any down

payments because the Shenemans made the payments.

       One of the homes that Mr. Davies purchased was located at 1922 West 6th Street,

Mishawaka, Indiana. Mr. Davies testified that the loan application for this property falsely

identified that he had fifteen thousand dollars of his money in the account, that he was a citizen

of the United States, and that he was interviewed by Andy Beam for purposes of filling out the

application. In fact, he never met with anyone other than Jeremie Sheneman at Superior

Mortgage. Mr. Davies testified that even though he had a right to receive the appraisal before

purchasing the home, he was told that Jeremie Sheneman had his own appraiser and that Jeremie

would take care of everything. Mr. Davies testified that the purchase of all of his properties

went the same way. In the end, Mr. Davies discovered that Jeremie Sheneman was not truthful

when he told Mr. Davies that he was buying the properties that he had selected, the homes were




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in good condition, most homes had tenants or he would help him find tenants, and the

Shenemans would buy back the properties if the investment did not work out.

       Mr. David Doolittle testified that after contacting Michael Sheneman to get involved with

purchasing rental properties, Michael referred him to Jeremie Sheneman at Tri State Mortgage so

that Jeremie could fill out his credit and loan application. Mr. Doolittle recalled filling out only

one credit application without a property address attached to it, and he testified that he did not

sign any others applications and he did not sign any other documents until closing. Thereafter,

Jeremie Sheneman told Mr. Doolittle that he had signed Mr. Doolittle’s name which was

difficult to replicate. Mr. Doolittle confirmed that even though his loan applications indicated

that the down payments were from his account, the money came from Jeremie Sheneman to

make it look like he had enough money to buy the houses. The money was then used at the

closings. Mr. Doolittle testified that he did not have interviews with Joel Chimel or Brenda

Buck, even though his loan applications reflected that he did. Ultimately Mr. Doolittle bought

twenty-one properties, not all of which were from the Shenemans, after Jeremie Sheneman gave

him false reassurances that the rentals would be in good condition and would have renters. Mr.

Doolittle testified that he never had a chance to look at the appraisals for the houses he

purchased, and that every one of his loans was processed through Tri State Mortgage and

Jeremie Sheneman.

       Mr. Gary Denaway contacted Michael Sheneman to get involved in the rental property

business, which led to Mr. Denaway’s contacting Jeremie Sheneman, a finance officer at Tri

State Mortgage. Mr. Denaway did not fill out any forms, but he signed them. Per Mr.

Denaway’s testimony: Jeremie Sheneman told Mr. Denaway that forty-five thousand dollars of


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Michael Sheneman’s money was placed in his account to make his credit appear acceptable;

even though Mr. Denaway lost his job, Jeremie Sheneman created a false employer so Mr.

Denaway would get approved for the loan; and, Mr. Denaway was never interviewed by Jeff

Walsh or Brenda Buck, despite the fact that his loan applications indicated otherwise.

Ultimately Mr. Denaway purchased ten homes, not all of which he was able to see before closing

because he was told that either a maintenance man was working on them or the key was not

available. Mr. Denaway testified that he never received any of the appraisals until after the

closing, because Jeremie Sheneman always said he forgot them or Jeremie Sheneman did not

show up at the closings. In addition, Mr. Denaway was falsely told that the properties were in

rentable condition, and Michael Sheneman indicated he would buy back the properties if Mr.

Denaway was not happy.

       On cross-examination, the buyers acknowledged signing documents at the closings which

indicated that they had a right to review the appraisals, many of which showed that the properties

were in good condition and were being rented. The buyers also admitted that they could have

insisted on seeing the properties before closing and that they had the ability to walk away from

any deal. Further, several Truth in Lending Statements revealed that the mortgage payments

were less than the rents being generated, and purchase agreements indicated that the sellers could

pay up to 5% or 6% of the closing costs, not to exceed 10% of the amount financed. Ultimately,

the buyers decided to take the investment risk because they were all hoping to make money with

their investments, but instead, the buyers testified that the homes went into foreclosure or the

banks took the deeds in lieu of foreclosures.




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        The scheme was supported by the testimony of Ms. Tanya Boettcher and Ms. Lauren

Duesler, who were loan processors at Superior Mortgage3 and worked with Jeremie Sheneman, a

loan officer at Superior Mortgage beginning in late 2004.4 Ms. Boettcher and Ms. Duesler

testified that after a loan officer gathered the application information from the buyer, their jobs

required them to generate a typed copy of the application, verify the information and

communicate with lenders, package the file, send the file to the mortgage company, and schedule

closings. However, they explained that Jeremie Sheneman’s files were handled differently.

Jeremie Sheneman worked late evenings and when they returned to work the following morning,

Jeremie Sheneman left files on their desks.

        Further, Ms. Boettcher explained that unlike other loan officers, Jeremie Sheneman gave

her copied loan applications instead of originals, he typically closed loans within two weeks

when most loans took thirty days to close, and he processed 25-50% more loans than other loan

officers. She testified that Jeremie Sheneman was able to get loans processed so quickly

because he sometimes processed loans himself and he worked directly with the lenders, which

was really her job. Ms. Boettcher testified that Jeremie Sheneman always used Argent Mortgage

Company as the lender.

        Ms. Duesler similarly testified that Jeremie Sheneman kept control of his files and he

would send information directly to the lenders, including conditions, appraisals, and title work.



        3
         After leaving Superior Mortgage in June 2005, Ms. Boettcher was processing loans for someone else in
October of 2005, when she learned that her name was still being used in connection with loan applications generated
from Superior Mortgage.
        4
         Mr. Truitt impeached Ms. Duesler’s testimony with the summary of her statement to government agents,
which reflected that she told the agents that Jeremie Sheneman was a loan officer assistant to Andy Beam, the owner
of Superior Mortgage.

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Ms. Duesler testified that she became familiar with Jeremie Sheneman’s handwriting because he

left handwritten notes on her desk every day with his files, and as such, Ms. Duesler was able to

identify Jeremie Sheneman’s handwriting on four loan applications for Ms. Gladys Zoleko. Ms.

Duesler did not recognize the interviewer’s signature on the applications to be Jeremie

Sheneman or Andrew Beam’s signature (which she was familiar with); however, the typed

versions of the applications, done by Jeremie Sheneman, reflected that Andrew Beam was the

interviewer. In working on Jeremie Sheneman’s loan files, Ms. Duesler saw blank purchase

agreements that contained borrower’s signatures and she observed Jeremie Sheneman cut and

paste borrower and seller signatures onto purchase agreements. Specifically, she testified that

Jeremie Sheneman would cut the seller’s signature from a purchase agreement and paste it onto a

purchase agreement that he completed after the buyer signed the blank agreement. Ms. Duesler

confirmed that most of the loans she processed for Jeremie Sheneman were subprime loans.

       Relative to Michael Sheneman, Ms. Duesler testified that Michael told her that he was

part owner of Superior Mortgage and that he and Jeremie Sheneman were selling some of his

(Michael Sheneman’s) houses. Ms. Duesler also saw Michael Sheneman use an office at

Superior Mortgage, receive telephone calls at Superior Mortgage, and sit with buyers at the

office with Jeremie Sheneman while Jeremie filled out loan applications for the buyers. Ms.

Duesler once observed Michael and Jeremie Sheneman accompany a buyer to the bank in order

get a cashier’s check for closing.

       The government also presented the testimony of Mr. Eric Oswald and Mr. Steve

Newcomb, both of whom were familiar with the mortgage industry at the time, the process of

obtaining mortgages, and the process by which mortgage companies decided whether to provide


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financing for a real estate purchase.

        Mr. Eric Oswald, experienced in underwriting and the mortgage lending industry in the

local area, explained that a mortgage broker was the middleman between the borrower and the

lender in securing funding for a loan, a loan officer working for a mortgage brokerage met with

the borrower and completed the information on the loan application, and a loan processor

gathered documents that the lender would want to review before underwriting the mortgage. Mr.

Oswald testified that about a month after closing, the borrower’s credit report would reflect a

mortgage issued on a property. He also explained that a power of attorney used to sell a

particular property did not become part of the chain of title on the property, but if recorded in the

recorder’s office, which was done in this case, then the power of attorney would be found upon

conducting a title search.

        Mr. Steve Newcomb, a Repurchase and Title Claims Manager with Argent Mortgage

Company from March 2004 until August 2007, testified that Argent was a subprime wholesale

residential lender, meaning they did not work directly with the borrower but relied on the loan

submission package (which included a copy of the purchase agreement) from an approved

mortgage broker to determine the borrower’s capacity to repay the loan. Argent made most of its

money in the secondary market by subsequently selling mortgages to large institutional lenders.5

        Mr. Newcomb explained the importance of the information in the loan application which

the lender relied on to evaluate a borrower’s credit history, capacity to repay, and collateral.


        5
          Mr. Newcomb explained that buyers in the secondary market would review the same loan application and
packets that Argent and other subprime lenders had received, and would conduct a forensic audit on a sample of the
loans received from subprime lenders. In 2007, when many loans created in 2003-2005 were defaulting, subprime
wholesale lenders were forced to repurchase many defaulted loans and sell the loans at a loss in the sub-secondary
market as a “scratch-and-dent.”


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This information was important whether the loan was going to be prime or subprime loan.

Specifically, Mr. Newcomb testified that: a borrower’s assets needed to be disclosed in order to

show whether the borrower had the requisite funds on deposit to close the loan; the schedule of

real estate owned was important to show the borrower’s other mortgage liabilities which are

balanced against the borrower’s income (including any rental income) for purposes of

calculating the borrower’s debt-to-income ratio; the source of the borrower’s down payment was

very important because only a borrower’s own funds or gift funds from an immediate family

member were acceptable to show that the borrower had a stake in the transaction (thereby

making a default less likely); employment information was necessary to show that the borrower

had the capacity to repay the loan and normally at least two years of employment was required to

show stability in job history (and if a borrower was not employed then the loan would be

denied); the citizenship of the borrower was important because if the borrower did not have

permanent roots in the United States then it would be considered a high risk factor and the loan

would likely be for a lesser amount with a higher interest rate; and, the name of the interviewer

must be disclosed in the loan application because it shows that the mortgage broker or the loan

officer for the broker is attesting to having completed the application (and if the broker was also

the buyer or seller, then most likely the loan would not get approved due to a conflict of interest).

Mr. Newcomb indicated that a seller was allowed to contribute to closing costs, however, no part

of the down payment could be borrowed and any gift funds for the down payment had to be from

an immediate family member.

       Mr. Newcomb testified that mortgage brokers became familiar with or knew the lending

criteria of Argent and other subprime lenders. He also testified that in 2003 through 2006, when


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the subprime lending industry grew, trillions of dollars were changing hands in the subprime

mortgage business, the lending guidelines were loose, and it became easier to get financing

because the lenders were extending credit based on lax internal subprime lending guidelines.

         FBI Special Agent Tim Theriault was the lead agent in the investigation of the

Shenemans. In interviews with Agent Theriault, Michael Sheneman stated that he had no

affiliation with the mortgage loan process and he knew that he was not allowed to pay the down

payments because it would be “illegal.” Michael Sheneman also admitted to paying all of the

closing costs for Mr. Davies and Ms. Zoleko, but he denied paying the down payments. Agent

Theriault testified that his investigation revealed that Jeremie Sheneman was once a loan officer

at Tri State Mortgage and a loan originator and processor while at Superior Mortgage.6

         Jeremie Shenemans’ previous trial testimony,7 admitted through Agent Theriault,

indicated that Jeremie Sheneman worked as a loan officer for two years at Tri State Mortgage

and he knew that lenders were going to rely on the information he put in loan applications,

specifically including: the intended use of the property and the borrower’s monthly income,

assets, liabilities, real estate owned, and credit score. Jeremie Sheneman knew that the lender

wanted to know if the borrower would be able to pay back the loan, and he knew that lenders

were more inclined to lend and provide a lower interest rate on a primary residence because the



         6
        Mr. Truitt attempted to get Agent Theriault to testify that Jeremie Sheneman did not work at Superior
Mortgage given that Jeremie Sheneman did not receive any salary or compensation from Superior Mortgage.
         7
          Jeremie Sheneman was prosecuted in a previous case, 3:10-cr-120, which went to trial. During the trial,
Jeremie Sheneman testified on his own behalf. On March 30, 2011, the jury convicted Jeremie Sheneman of three
counts of wire fraud involving a scheme in which Jeremie Sheneman fraudulently secured approximately four
million dollars in mortgage loans by misrepresenting the assets, liabilities, and other material information on
mortgage loan applications submitted in his grandmother’s name. Relevant portions of Jeremie Sheneman’s
testimony from the trial in 3:10-cr-120 were introduced in the present case without informing the jury that the prior
testimony was given during a criminal proceeding and without objection.

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borrower would be more likely to take care of the property.

        Richard Urbanowski, a forensic auditor with the U.S. Department of Housing and Urban

Development, analyzed the financial records involved in the case and testified that in reality

every cent of the down payments required for all sixty properties purchased by Mr. Davies, Mr.

Denaway, Mr. Doolittle, and Ms. Zoleko came from Michael Sheneman (minus some fees

incurred for Ms. Zoleko’s properties). In addition, of the sixty properties purchased by the four

buyers, virtually all of the mortgages (excepting four of Mr. Davies’ properties) were brokered

through Superior Mortgage or Tri State Mortgage, where Jeremie Sheneman worked.8 Mr.

Urbanowski also analyzed the amount of money that was placed into the four buyers’ accounts

by Michael Sheneman, which included $20,000.00 to Mr. Davies (whose account balance was

$869.00), $45,000.00 to Mr. Denaway (whose account balance was $694.00), $25,000.00 to Mr.

Doolittle, and $18,000.00 to Ms. Zoleko (whose account balance was $234.00). Mr. Urbanowski

told the jury that the proceeds of the sales often went to Michael Sheneman, yet from June

through October 2005, a total of $645,854.55 was transferred from Michael Sheneman’s

accounts to Jeremie Sheneman’s accounts (although this amount was not actually traced from the

money made from the property sales). Jeremie Sheneman actually received $360,099.61 in

direct sale proceeds to his personal bank account [Government’s exhibit 47]. Mr. Urbanowski

also discussed the wire transfers that were described in counts 1-4 of the indictment, which

involved the wiring of the mortgage funds to the title company and resulted in the sale proceeds

being wired from the title company to Michael Sheneman’s bank account [Government’s


        8
          On cross-examination, Mr. Urbanowski testified that he concluded that Jeremie Sheneman worked at
Superior Mortgage based only on interviews and information received from case agents. Mr. Urbanowski admitted
that Jeremie Sheneman’s name does not appear on any loans originated from Superior Mortgage and he had no
evidence that Jeremie Sheneman ever received any commission checks from Superior Mortgage.

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exhibits 37-40].

        The defense presented the testimony of Mr. Jonathon Farkas, Jeremie Sheneman’s high

school friend, who worked from October 2004 to January 2007 at Argent Mortgage explaining

Argent’s lending guidelines to lenders. Mr. Farkas testified that 80-85% of Argent’s business

was subprime lending which involved programs focused on non-seasoned and non-sourced loans

because they were dealing with credit-challenged borrowers. He agreed that Argent looked

primarily at credit, collateral, capacity, and character for approving a loan and that Argent often

relied on the appraisal ordered by the broker to know the real estate’s value. Mr. Farkas

confirmed that it was typical for sellers to pay up to 5% of closing costs and that the settlement

statement would supercede the purchase agreement. Mr. Farkas also confirmed that Argent

records would show that Michael Sheneman was never an owner of Superior Mortgage and that

Jeremie Sheneman was never a loan officer at Superior Mortgage.9 By early 2006, Superior

Mortgage was in a “disapproved state” with Argent, which meant that Argent was no longer

accepting loans from Superior Mortgage because as the economic times changed Argent had to

focus on brokers that were producing more profit for Argent.

        The jury heard testimony from Mr. Amado Tanguma, who from 1998 to 2005 was a

mortgage loan officer for Michiana Mortgage, during which time he originated approximately

one hundred subprime loans. Mr. Tanguma was aware of a seller-assisted program that allowed

the seller to pay closing costs. Mr. Tanguma testified that oftentimes the lender did not care how

long the borrower’s money sat in the account (otherwise known as the seasoning of funds) or


        9
           Mr. Farkas testified that Mr. Joel Chimel also worked for Argent as an account executive; however, Mr.
Chimel was not a loan officer at Superior Mortgage and it was highly unlikely that he would have conducted a face
to face interview with a borrower at Superior Mortgage. Notably, Mr. Chimel also worked at Tri State Mortgage
with Jeremie Sheneman.

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where it came from (otherwise known as the source of funds) because the loan was going to be

resold. In Mr. Tanguma’s experience, at closing, the closing agent would have the borrower

review the loan application and verify that the information was correct and no additional

documentation was required if a borrower indicated that he or she was a citizen of the United

States.

          On cross-examination, Mr. Tanguma admitted that while he was a loan originator he

never forged any buyers’ signatures on any loan applications, never put money in the borrowers’

bank accounts to increase the amount reflected on the loan applications, never omitted other

properties owned by the borrower, never indicated that someone was a United States citizen

when they were not, and never indicated that the interview of the borrower was conducted by

someone other than himself. Lastly, Mr. Tanguma never knew if Jeremie Sheneman ever did

any of these things because he did not even know Jeremie Sheneman.

          Mr. Carl Newborn testified that he is a real estate investor who purchases real estate,

rehabilitates the properties, and resells them. He too was aware of a seller-assisted program

during the relevant time frame that allowed the seller to pay financing costs of up to 10% of the

loan. In fact, he provided assistance to buyers on some of the homes that he sold, however, he

never paid the down payment for any of his buyers. Mr. Newborn was specifically familiar with

the property located at 1801 Carlisle Street, which he brought with the financial assistance of

Michael Sheneman. He also recalled reselling the home by using a power of attorney and

meeting Michael Sheneman at Superior Mortgage. Further, Mr. Newborn knew Jeremie

Sheneman though Michael Sheneman and was aware that Jeremie Sheneman “used to do

mortgages at Tri State Mortgage.”


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       Mr. Randy Herring, a real estate appraiser of ten years, conducted approximately a dozen

appraisals for Michael Sheneman and up to one hundred appraisals for Tri State Mortgage. Mr.

Herring testified that when dealing with the type of loans made in this case he would have been

hired by the lender. Mr. Herring testified that if a property was not owner-occupied, he would

conduct a rent schedule to determine the rental income that might be generated by a particular

property. He also identified an appraisal that he conducted on January 30, 2004 for a property

located at 1237 College Avenue, which reflected that the home was renovated. A second

appraisal, paid for by the mortgage insurance company, concluded that Mr. Herring’s appraisal

was accurate.

       Mr. Kenneth Brown testified on behalf of the defendants as well. Mr. Brown indicated

that he worked for Jeremie Sheneman by locating homes that were for sale. Mr. Brown would

then rehabilitate the homes and manage the properties for Jeremie Sheneman. Mr. Brown was

proud of his work which had to be up to Section 8 standards before he got paid. Mr. Brown

recalled some of the homes that Ms. Zoleko purchased as being “up to par.”

                                      III. Rule 33 Standard

       Under Federal Rule of Criminal Procedure 33, “the court may vacate any judgment and

grant a new trial if the interest of justice so requires.” The motion is addressed to the discretion

of the court and the power to grant a new trial should be invoked only in the most extreme cases.

United States v. Linwood, 142 F.3d 418, 422 (7th Cir. 1998), cert. denied, 525 U.S. 897 (1998);

United States v. Gonzalez, 93 F.3d 311, 315 (7th Cir. 1996) (citations omitted).

       On a motion for a new trial, the court does not need to view all evidence in favor of the

government, “[r]ather, the court considers whether the verdict is against the manifest weight of


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the evidence, taking into account the credibility of the witnesses.” United States v. Washington,

184 F.3d 653, 657 (7th Cir. 1999), cert. denied, 533 U.S. 961 (2001). A court must grant a new

trial if that evidence “preponderates heavily against the verdict, such that it would be a

miscarriage of justice to let the verdict stand,” id. at 658 (citation omitted), or where “trial errors

or omissions have jeopardized the defendant’s substantial rights.” United States v. Reed, 986

F.2d 191, 192 (7th Cir. 1993) (citation omitted).

        Further, if the court reaches the conclusion that “there is a serious danger that a

miscarriage of justice has occurred—that is, that an innocent person has been convicted—he has

the power to set the verdict aside,” even if no erroneous rulings were made at trial. United States

v. Santos, 20 F.3d 280, 285 (7th Cir. 1994) (citing United States v. Morales, 902 F.2d 604,

605-06 (7th Cir. 1990), amended, United States v. Morales, 910 F.2d 467 (7th Cir. 1990)). “If

the complete record, testimonial and physical, leaves a strong doubt as to the defendant’s guilt,

even though not so strong a doubt as to require a judgment of acquittal, the district judge may be

obliged to grant a new trial.” Id.

                                           IV. Discussion

A.      Ineffective Assistance of Counsel

        The Sixth Amendment provides that “[i]n all criminal prosecutions, the accused shall

enjoy the right . . . to have the Assistance of Counsel for his defence.” U.S. Const. amend. VI.

An attorney must not only be present with a criminal defendant at his trial, but must assist the

defendant in a way that ensures the trial is fair. Strickland v. Washington, 466 U.S. 668, 685

(1984). A fair trial is one in which the adversarial process functions properly to produce a just

result. Id. at 686.


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       To prevail on a claim for ineffective assistance of counsel, Mr. Sheneman must first

demonstrate that counsel’s performance was deficient—“that counsel made errors so serious that

counsel was not functioning as the ‘counsel’ guaranteed the defendant by the Sixth

Amendment.” Strickland, 466 U.S. at 687. To show deficient performance, the defendant must

show “that counsel’s representation fell below an objective standard of reasonableness.” Koons

v. United States, 639 F.3d 348, 351 (7th Cir. 2011) (quoting Strickland, 466 U.S. at 688). “This

means identifying acts or omissions of counsel that could not be the result of professional

judgment. The question is whether an attorney’s representation amounted to incompetence

under prevailing professional norms, not whether it deviated from best practices or most

common custom.” Id. (citing Sussman v. Jenkins, 636 F.3d 329, 349 (7th Cir. 2011)). Further,

“there is a strong presumption that [the defendant’s] attorney performed effectively,” Berkey v.

United States, 318 F.3d 768, 772 (7th Cir. 2003), and that the challenged conduct “might be

considered a sound trial strategy.” Strickland, 466 U.S. at 689 (citation and quotation omitted).

The reasonableness of counsel’s performance must be evaluated “from counsel’s perspective at

the time of the alleged error and in light of all the circumstances.” Kimmelman v. Morrison, 477

U.S. 365, 381 (1986) (citation omitted).

       Even if counsel’s performance was deficient, Mr. Sheneman must also demonstrate that

counsel’s deficient performance prejudiced his defense—“that counsel’s errors were so serious

as to deprive [him] of a fair trial, a trial whose result is reliable.” Strickland, 466 U.S. at 687. To

establish prejudice, the defendant must show that “there is a reasonable probability that, but for

counsel’s unprofessional errors, the result of the proceeding would have been different. A

reasonable probability is a probability sufficient to undermine confidence in the outcome.”


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Eckstein v. Kingston, 460 F.3d 844, 848 (7th Cir. 2006) (quoting Strickland, 466 U.S. at 694);

United States v. Best, 426 F.3d 937, 945 (7th Cir. 2005) (quoting Strickland, 466 U.S. at 694).

“In weighing the effect of counsel’s errors, the court must consider the totality of the evidence. .

. A verdict or conclusion that is overwhelmingly supported by the record is less likely to have

been affected by errors than one that is only weakly supported by the record.” Eckstein, 460 F.3d

at 848 (quoting Hough v. Anderson, 272 F.3d 878, 891 (7th Cir. 2001)).

       Failure to satisfy either the performance or the prejudice prong of the Strickland test is

fatal to a defendant’s ineffectiveness claim. Velarde v. United States, 972 F.2d 826, 828 (7th Cir.

1992); see Strickland, 466 U.S. at 687 (reasoning that “[u]nless a defendant makes both

showings, it cannot be said that the conviction . . . resulted from a breakdown in the adversary

process that renders the result unreliable.”). In fact, “a court need not determine whether

counsel’s performance was deficient before examining the prejudice suffered by the defendant as

a result of the alleged deficiencies.” Strickland, 466 U.S. at 697. “If it is easier to dispose of an

ineffectiveness claim on the ground of lack of sufficient prejudice, which we expect will often be

so, that course should be followed.” Id.

       Considering the entirety of Jeremie Sheneman’s objections to Mr. Truitt’s performance

and the extensive record of this case, the Court concludes that these alleged omissions

completely fail to satisfy the two requirements in Strickland for showing ineffective assistance of

counsel.

       Deficient Performance

       To show deficient performance, Jeremie Sheneman must show Mr. Truitt’s

representation fell below an objective standard of reasonableness. Koons, 639 F.3d at 351


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(quoting Strickland, 466 U.S. at 688). There is a strong presumption of competence. Berkey, 318

F.3d at 772.

       Jeremie Sheneman places significant emphasis on Mr. Truitt’s alleged failure to

introduce mitigating evidence at trial. However, the evidence that Jeremie Sheneman identifies

as not having been introduced at trial was in fact admitted into evidence.

       In particular, Jeremie Sheneman complains that Mr. Truitt should have introduced

evidence relative to the loan applications, the purchase agreements, the appraisals, the fact that

other sellers and mortgage companies were involved, and the legal use of a power of attorney.

Yet, these items were admitted into evidence and incorporated into the presentation of Jeremie

Sheneman’s defense.

       For instance, the documentary evidence admitted into evidence included various

purchase agreements [Defendant’s Exhibits M-4, M-7, M-11, M-14, M-17, M-18, M-19, M-20,

M-25]. Of the purchase agreements that were introduced into evidence, the purchase agreements

for the four properties identified in counts 1-4 of the indictment were also admitted [Defendant’s

Exhibits M-4, M-7, M-11, M-14]. These purchase agreements specifically identified the fact

that the properties were being sold “as is” without further inspection and that the seller was

allowed to pay 5% of the closing costs not to exceed 10% of the amount financed. Id.

Importantly, the purchase agreements further identified Mike Lee as the seller of the properties

contained in counts 1-3 of the indictment (726 South Brookfield Street, 1246 Diamond Avenue,

and 505 North Walnut Street) [Defendant’s Exhibits M-4, M-7, M-11], and the defense

submitted the Limited Power of Attorney that Michael Sheneman had to sell these homes on Mr.




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Lee’s behalf [Defendant’s Exhibit M-29].10 Also, the purchase agreement for the property

contained in the remaining count of the indictment (1922 West 6th Street), identified Michael

Sheneman as the seller [Defendant’s Exhibit M-14]. Thus, the purchase agreements and the

information they contained were submitted to the jury.

         Moreover, Mr. Truitt explained to the jury the role of purchase agreements in real estate

transactions, by stating: “[t]here are sale contracts for each and every one of these properties.

And there’s not a whole lot of rules for sales contracts. You can agree to do a lot of things,

including pay part of the closing costs, to assist the buyer in completing the loan, that’s not

illegal.” [Trial Transcript Volume I at 38-39]. Therefore, any contention that the jury did not

understand the role of the purchase agreements or did not know about their contents is without

merit.

         Similarly, several appraisal reports were admitted [Government’s Exhibits 11, 12;

Defendant’s Exhibits M-3, M-9, M-12, M-16, M-23, M-28], including the appraisals that were

completed on the four properties identified in counts 1-4 of the indictment [Defendant’s Exhibits

M-3, M-9, M-12, M-16]. Along with these appraisal reports, the defense offered into evidence

the notices which informed the borrowers of their right to receive a copy of the appraisal

report— including the notices which contained the purported signatures of Ms. Zoleko and Mr.

Davis [Defendant’s Exhibits M-2, M-8, M-15], who bought the four properties identified in

counts 1-4 of the indictment. Mr. Truitt further explained to the jury the role of the appraisals by



         10
          In fact, other Limited Powers of Attorney were admitted into evidence which were given by Ms. Tyl and
Mr. Shaw [Defendant’s Exhibits M-1, M-30], along with an agreement between Ms. Tyl and Michael Sheneman
which indicated that her properties were being sold to Michael Sheneman with the understanding that they would be
purchased by another buyer, and that no one was to have direct contact with the tenants of her six properties
[Defendant’s Exhibit M-31].

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stating:

           And there’s another safeguard: an appraisal. Banks are going to require an
           appraisal. So a certified appraiser is going to have to go out, examine that house,
           examine similar houses in that area, and come back with an opinion, a
           professional opinion, as to how much that house is worth. And if the purchase
           price is more than what the appraisal shows, they are going to have to
           adjust the purchase price. So the seller is going to take less and he will agree to
           take what the appraisal shows. Based on all of that, the lender makes a decision:
           Yes, I'm going to fund this loan. No, I'm not going to fund this loan. Or, I may
           fund this loan after I receive certain other information . . . Now, what was
           happening in a lot of these loans, which is beyond the control of Jeremie or
           Michael Sheneman, is that the banks weren’t asking for this additional proof. Had
           the right to, but didn’t.

[Trial Transcript Volume I at 39-40]. Again, the jury was provided the relevant information

concerning the appraisal reports and the information which would allow the jury to conclude that

the buyers knew about their right to receive and review copies of the appraisals.

           Further, almost thirty residential loan applications were admitted into evidence during the

course of the trial [Government’s Exhibits 1-5, 8, 9, 13, 14, 18-31; Defendant’s Exhibits J-1, J-2,

J-3]. Of those loan applications admitted at trial, the loan applications for the four properties

identified in the indictment were admitted, along with their respective settlement statements

[Government’s Exhibits 9, 27, 30, 31].11 The settlement statements explicitly revealed that F&S

Properties LLC was the seller of the properties that Ms. Zoleko purchased, as identified in counts

1-3 of the indictment; and, that Michael Sheneman was the seller of the property that Mr. Davies

purchased, as identified in count 4 of the indictment [Government’s Exhibits 9, 27, 30, 31].

These settlement statements also showed that Mr. Davies’ mortgage (count 4) was financed by

Homecomings Financial Network, Inc., and that Mr. Zoleko’s mortgages were financed by


           11
          These loan documents were completed with typed responses, with the exception of the loan application for
726 South Brookfield Street, as identified in count 3 of the indictment, which contained handwriting identified by
Ms. Duesler as Jeremie Sheneman’s [Government’s Exhibit 27].

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Argent Mortgage Company (count 3) and Meritage Mortgage Corporation (counts 1 and 2). Id.

        Thus, despite Jeremie Sheneman’s argument to the contrary, this information was

submitted to the jury for their deliberations and very clearly reveals that other sellers and

mortgage companies were involved, and that the properties were sold pursuant to what might

appear to be legitimate loan applications, purchase agreements, appraisals, and powers of

attorney.

        These documents were introduced along with trial testimony which provided relevant

background information for their admission—more evidence that Jeremie Sheneman overlooks

when asserting that certain evidence should have been admitted but was not.

        For instance, given the testimony of Ms. Tyl, Mr. McGinness, Mr. Shaw, and Mr.

Newborn, there was no doubt that various sellers of property were involved and that there was

nothing illegal about using a power of attorney to sell homes. Mr. Oswald and Ms. Tyl

established that there was nothing unusual about using a power of attorney to sell properties.

Mr. Oswald also established that while recorded powers of attorney (as these were) would show

up in a title search for the property, the person given the power of attorney would not be

identified as an owner of the property in the chain of title.

        Despite the legitimate use of powers of attorney and the involvement of other sellers, the

jury was also confronted with testimony which connected Jeremie and Michael Sheneman to the

sale of all sixty properties by virtue of their being the actual sellers of properties or by their

obtaining the power to sell properties for others. The testimony of Mr. McGinness, Mr. Shaw,

and the four buyers, all indicated that they were under the impression that they were

selling/buying the properties directly from/to Michael or Jeremie Sheneman. The four buyers


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confirmed that they met Jeremie Sheneman at Tri State Mortgage or Superior Mortgage and

signed their names to blank documents without filling out loan applications. They testified that

Jeremie Sheneman took care of the rest. Jeremie Sheneman’s previous sworn testimony

confirmed that he worked as a loan officer at Tri State Mortgage, and the testimony of Ms.

Boettcher and Ms. Duesler confirmed that Jeremie Sheneman worked as a loan officer at

Superior Mortgage and oftentimes processed his own loans very quickly, which involved his

cutting and pasting of signatures onto purchase agreements.

       The defense countered this damaging testimony by having Agent Theriault and Mr.

Urbanowski admit that Jeremie Sheneman’s name never appeared on any loans originated from

Superior Mortgage, and that there was no evidence that Jeremie Sheneman ever received any

compensation from Superior Mortgage. Mr. Truitt further called Ms. Duesler’s credibility into

question by informing the jury that Ms. Duesler previously informed government agents that

Jeremie Sheneman was only a loan officer assistant to Andy Beam. Defense witness, Mr.

Farkas, was also presented. Mr. Farkas testified that having worked at Argent, he was personally

familiar with the fact that Jeremie Sheneman was never a loan officer at Superior Mortgage.

       Therefore, to argue that Mr. Truitt was deficient by failing to offer evidence which

showed that Jeremie Sheneman did not work for Superior Mortgage and was not responsible for

the information submitted on all of the loan applications is without merit.

       Jeremie Sheneman also contends that Mr. Truitt failed to present mitigating evidence

concerning the buyers and the lenders. Relative to the buyers, Jeremie Sheneman argues that

Mr. Truitt failed to clarify that the buyers were not victims because they did not pay any down

payments and ultimately suffered no losses. Relative to the lenders, Jeremie Sheneman argues


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that Mr. Truitt failed to clarify that the lenders financed the mortgages knowing that these were

subprime loans that fell within their guidelines, and failed to inform the jury that the lenders

suffered no losses because they regained ownership of the properties after the buyers defaulted

on the loans.

           Little discussion need be devoted to Jeremie Sheneman’s argument that Mr. Truitt failed

to present evidence that the buyers were not victims and suffered no losses. There was

overwhelming evidence that unsophisticated real estate investors Ms. Zoleko, Mr. Davies, Mr.

Doolittle, and Mr. Denaway were duped into purchasing multiple properties at one time and

ultimately spent time and money rehabilitating and renting out the properties. Despite this

damaging evidence, cross-examination of the buyers revealed that they knew that they could

have demanded to inspect the properties and appraisal reports before purchasing, and they knew

that they could have walked away from any deal at any time. In addition, Mr. Tanguma was

presented to tell the jury that at the closings of the properties, the borrowers review the loan

applications and verify that the information is correct. Cross-examination further established

that the buyers knew that the rental income (some of which was collected) was expected to

exceed the mortgage payments, and they made the investment because they all hoped to make

money in the end. The buyers all testified that upon their default, most of the lenders took the

deeds in lieu of foreclosing. In fact, Mr. Truitt specifically argued this point in closing by

stating:

           And, fortunately, most of them were fortunate enough to have the bank accept the
           home in lieu of the bank filing a foreclosure process. So they were not stuck with
           the deficiency judgment. They didn’t have a debt collector going after them.
           Nobody has said their wages have been garnished or anything because of their
           mortgage loan. The bank, in a sense, forgives the loan; takes the property and
           hopefully tries to make as much as it can when the bank sells the property.

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[Trial Transcript Volume IV at 165]. Again, Jeremie Sheneman’s contention that Mr. Truitt was

deficient in not making sure this mitigating evidence was introduced at trial is refuted by the

record.

          The Court turns to Jeremie Sheneman’s argument that Mr. Truitt should have clarified for

the jury that the lenders were issuing subprime loans based on subprime lending standards and

based on the terms of the purchase agreements and contents of the appraisal reports. The

following discussion will show that this evidence was also submitted to the jury.

          First, Ms. Duesler confirmed that most of the loans that she processed for Jeremie

Sheneman were subprime loans, Ms. Boettcher confirmed that Jeremie Sheneman always used

Argent Mortgage Company as the lender on the files that she processed, and Mr. Newcomb and

Mr. Farkas confirmed that Argent Mortgage Company was a subprime wholesale residential

lender. Second, Mr. Tanguma, along with Mr. Newcomb and Mr. Farkas, testified about the

lending requirements for subprime loans. Their testimony consistently established that it became

easier for credit-challenged borrowers to get financing because lenders were extending credit

based on loose internal subprime lending guidelines. Mr. Farkas’s testimony further coincided

with Mr. Newcomb’s testimony that subprime lenders still looked to a borrower’s credit,

collateral, capacity, and character for approving a loan, and that the lender often relied on the

appraisal ordered by the broker to know the real estate’s value. Although Mr. Newcomb seemed

to place a greater emphasis on the lender’s need to know the source and seasoning of funds, the

testimony of defense witnesses Mr. Farkas and Mr. Tanguma established that subprime lending

involved programs where the source and seasoning of the funds did not matter because the loan

was going to be resold. Further, Mr. Newcomb indicated that a seller was allowed to contribute


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to closing costs; Mr. Farkas and Mr. Tanguma confirmed that it was typical for sellers to pay up

to 5% of closing costs; and, Mr. Newborn testified that he was aware of a seller-assisted program

that allowed the seller to pay financing costs of up to 10% of the loan. Third, aside from the

loose lending practices and the type of loan, the testimony established that the lender was going

to rely on the loan submission package, which included a copy of the purchase agreement, to

determine the borrower’s capacity to repay the loan. Fourth and finally, Mr. Truitt argued to the

jury that Jeremie Sheneman complied with the lending standards at the time by stating in closing

argument:

         Again, this process was started by a Contract to Purchase. Said that the seller
         could pay 5 percent of closing costs, and some of them say an additional 10
         percent. This one says 5 percent, but there is nothing wrong with that. You heard
         the people from Argent say nothing wrong with the seller putting funds in a bank
         for a particular purchaser. Nothing wrong with that. Our rules and regulations at
         that time: No source/no seasoning. You don't have to put the name of who
         provided the money, and it doesn't have to be in the account for a certain specified
         period of time. Everything that was done in connection with the mortgage process
         and the closing of this loan was done according to Hoyle, by the rules and
         regulations in place at the time.

[Trial Transcript Volume IV at 166]. Once again, the record evidence establishes that the jury

was aware that these were subprime loans, was aware of the lending requirements that subprime

lenders used, and was aware that the lenders were given the loan file and purchase agreements

before issuing the mortgages. Thus, no deficiency on the part of Mr. Truitt has been shown.12


         12
           To the extent that Jeremie Sheneman argues that Mr. Truitt was ineffective for not calling a subprime
lending expert, the Court finds the argument unavailing. First, Jeremie Sheneman has never proffered the testimony
that would have been given by any such expert, and he has not identified a witness that would likely have been
available to testify. See United States v. Hattermann, 853 F.2d 555, 559 (7th Cir. 1988) (defendant failed to present
any evidence indicating that expert witnesses were available to testify with regard to his cancerphobia). Second, any
further testimony concerning subprime lending would have been unnecessarily duplicative given the testimony of
Mr. Newcomb, Mr. Farkas, and Mr. Tanguma. See United States v. Monigan, 128 F.3d 609, 612 (7th Cir. 1997)
(“[i]t was entirely within counsel’s discretion to decline calling a witness whose testimony he believed to be
cumulative.”). Third, assuming Mr. Truitt performed deficiently by not hiring a subprime lending expert, no
prejudice resulted because a subprime expert was going to add nothing to the fact that lenders wanted to know their

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         Lastly, any argument that Mr. Truitt was ineffective for failing to make sure that the jury

understood the difference that existed between closing costs and down payments, is frivolous.

First, Agent Theriault testified that Michael Sheneman knew that he was not allowed to pay the

down payments because it would be “illegal,” but he did in fact pay all of the closing costs for

Mr. Davies and Ms. Zoleko. Similarly, Mr. Newcomb, Mr. Farkas, Mr. Tanguma, and Mr.

Newborn, all confirmed that sellers were allowed to pay a certain percentage of the closing costs,

and the purchase agreements confirmed that no more than the 10% of the amount financed would

be paid by the seller. However, Mr. Newcomb also noted that there were strict guidelines

concerning the source of the down payments because the funds could not be borrowed and any

gift funds had to be from an immediate family member. Defense witness Mr. Newborn testified

that he never paid the down payment for any of his buyers.

         Ultimately, there was no failure to explain to the jury that closing costs could be paid by

the seller, but down payments could not. And thus, there was no deficient performance by Mr.

Truitt in this respect.

         The fact of the matter is, that despite evidence of its illegality, all of the buyers indicated

that the down payments were paid for them by either Michael or Jeremie Sheneman, and the loan

documents reflected that many of these down payments exceeded the amount set forth in the

purchase agreements. And Mr. Truitt cannot be faulted for the strength of the government’s

case.

         Although the Court has individually addressed Jeremie Sheneman’s contentions of Mr.



risk of getting the loan paid back (regardless of whether the loans were conventional, subprime, or another type of
loan), and any expert testimony was not going to change the fact that the subprime lenders’ risk assessment was
actually based on the false information in the loan applications that, per the buyers, Jeremie Sheneman provided.

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Truitt’s alleged deficient performance, the Court has considered Mr. Truitt’s aggregate

performance, including Jeremie Sheneman’s catchall argument that “[d]efense counsel failed to

present evidence, fully develop evidence, and respond to misleading testimony so that Jeremie

Sheneman was not provided a defense” [DE 138 at 5]. See Peoples v. United States, 403 F.3d

844, 848 (7th Cir. 2005) (“ineffective assistance of counsel is a single ground for relief no matter

how many failings the lawyer may have displayed. Counsel’s work must be assessed as a whole;

it is the overall deficient performance, rather than a specific failing, that constitutes the ground of

relief.”); Washington v. Smith, 219 F.3d 620, 635 (7th Cir. 2000) (the court must assess “the

totality of the omitted evidence under Strickland rather than the individual errors”) (citation

omitted).

       But the fact that Jeremie Sheneman might believe that his counsel could have or should

have employed a different strategy when addressing certain factual issues at trial does not render

his performance ineffective. See Gentry v. Sevier, 597 F.3d 838, 851 (7th Cir. 2010) (“[t]rial

strategies are generally left to the discretion of counsel and second-guessing strategic decisions

in hindsight will generally not be a meritorious basis to find ineffective assistance of counsel.”)

(citation omitted). In fact, Jeremie Sheneman has not even explained that there was a better way

to handle the presentation of his case. It is Jeremie Sheneman’s burden to identify the acts or

omissions of Mr. Truitt that could not be the result of professional judgment such that Mr.

Truitt’s representation amounted to incompetence under prevailing professional norms. Koons,

639 F.3d at 351 (citation omitted). In considering Mr. Truitt’s performance as a whole, Jeremie

Sheneman has not met his burden in overcoming the presumption that, under the circumstances,

the challenged actions were sound trial strategy and that Mr. Truitt’s representation fell within


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the wide range of reasonable professional assistance. Id. Thus, Jeremie Sheneman’s Sixth

Amendment right to effective representation was not violated.

        Prejudice

        Even if Mr. Truitt’s performance was deficient, Mr. Sheneman must also demonstrate

that counsel’s deficient performance prejudiced his defense. Strickland, 466 U.S. at 687. In this

case, the verdicts of guilty were overwhelmingly supported by the record, and no matter how

deeply Jeremie Sheneman mines his contention that Mr. Truitt failed to effectively pursue his

defense, he cannot demonstrate that he suffered any prejudice. In fact, other than crafting a long

list of Mr. Truitt’s alleged deficient conduct, Jeremie Sheneman never attempts to explain how

Mr. Truitt’s conduct impaired Jeremie Sheneman’s defense or deprived Jeremie Sheneman of a

fair trial, a trial whose result is reliable. See Strickland, 466 U.S. at 687. This alone is a basis to

deny Jeremie Sheneman’s request for a new trial because failure to show prejudice is fatal to

Jeremie Sheneman’s ineffectiveness claim. Id.; Velarde, 972 F.2d at 828.

        In any event, the Court considers the totality of the evidence in weighing the effect of

counsel’s alleged errors. As extensively detailed herein, the jury heard evidence that the

Shenemans secured houses for sale by owning them outright or acquiring control over them

through a power of attorney. A power of attorney, even if filed with the recorder’s office, did

not have the Sheneman name appear in the chain of title. In addition, the sellers of their

properties knew nothing about the mortgage proceed checks endorsed by them with directions to

pay to the order of either Jeremie or Michael Sheneman.

        The evidence also included the testimony of the buyers who described meeting with

Jeremie Sheneman at Tri State Mortgage or Superior Mortgage, where per Ms. Boettcher and


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Ms. Duesler, Jeremie Sheneman even processed his own loans. During the meeting with Jeremie

Sheneman, the buyers signed their names to blank forms, or in Mr. Doolittle case he completed

only one application. None of the buyers filled out or signed any other documents until

closing—yet their signatures later appeared on documents that they did not sign; and, their loan

applications, some of which contained Jeremie Sheneman’s handwriting, falsely reported their

income (or in Mr. Denaway’s situation, falsely indicated that he had a job) and misrepresented

their citizenship, the source of the funds, the intended use of the properties, and the identity of

the loan officer who interviewed them and completed their loan applications. Sure, the buyers

signed documents at closing attesting that these statements were true, but their testimony also

established that they were not provided appraisals before closing and they were stuck signing

mass amounts of documents on various properties without having sufficient opportunity to read

the documents.

       Mr. Newcomb testified as to the importance of the loan application information which

the lenders relied on to assess their risk of lending. Even considering the evidence submitted

which indicated that subprime lenders allowed sellers to pay closing costs and often cared little

about the source and seasoning of funds, both Mr. Farkas and Mr. Newcomb testified that

subprime lenders still looked at a borrower’s credit, collateral, capacity, and character for

approving a loan. In fact, Jeremie Shenemans’ sworn testimony from his previous trial indicated

that as a former loan officer at Tri State Mortgage, he knew that lenders were going to rely on

the information in the loan application to determine if the borrower could repay the loan,

specifically including information about the intended use of the property and the borrower’s

monthly income, assets, liabilities, real estate owned, and credit score.


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       Thus, even with loose lending practices and the availability of subprime lending

programs, the jury was given strong evidence of the fact that Jeremie Sheneman knew that the

subprime lender was going to rely on the loan submission package to determine the borrower’s

capacity to repay the loan. In fact, Mr. Tanguma, a defense witness, told the jury that when he

was a loan originator, he never forged any buyers’ signatures on any loan applications, never put

money in the borrowers’ bank accounts to increase the amount reflected on the loan applications,

never omitted other properties owned by the borrower, never indicated that someone was a

United States citizen when they were not, and never indicated that the interview of the borrower

was conducted by someone other than himself.

       The jury also heard testimony that Michael and Jeremie Sheneman took the buyers to see

properties that the buyers thought were owned by the Shenemans. The buyers were not allowed

to go inside of the homes for various reasons, but they were all given false assurances that the

homes were in rentable condition and that the Shenemans would assist them in various ways

with their investments. The buyers further testified that they never paid the down payments,

instead, Jeremie or Michael Sheneman paid the down payments. Mr. Urbanowski confirmed that

Michael Sheneman paid for all of the down payments and placed $20,000.00 into Mr. Davies’

account, $45,000.00 into Mr. Denaway’s account, $25,000.00 into Mr. Doolittle’s account, and

$18,000.00 into Ms. Zoleko’s account, in order to make their account balances appear acceptable

to lenders.

       After the buyers were approved for financing and the mortgages issued, the buyers

discovered that they purchased homes that they had not selected, homes that needed major

repairs, and homes that did not have renters. Although the buyers spent time and money


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repairing the homes and finding renters, the lenders eventually took the homes in lieu of

foreclosing.

       The jury heard Mr. Urbanowski testify that during the course of the scheme Jeremie

Sheneman received $360,099.61 in direct sale proceeds to his personal bank account, and from

June to October 2005, Michael Sheneman transferred $645,854.55 from his accounts to Jeremie

Sheneman’s accounts. Mr. Urbanowski also explained to the jury how the wire transfers alleged

in counts 1-4 of the indictment involved the wiring of the mortgage funds to the title company

for Ms. Zoleko’s purchase of 505 North Walnut Street, 1246 Diamond Avenue, and 726 South

Brookfield Street (counts 1-3) and for Mr. Davies’s purchase of 1922 West 6th Street (count 4),

with the resulting sale proceeds being wired from the title company to Michael Sheneman’s bank

account.

       The evidence of Jeremie Sheneman’s guilt was overwhelming and he has not shown that

Mr. Truitt’s alleged inadequacies impaired his defense. Assuming that the entire constellation of

Mr. Truitt’s alleged errors constituted deficient performance, Jeremie Sheneman is unable to

show with a reasonable probability that, but for Mr. Truitt’s unprofessional errors, the result of

the proceeding would have been different, or that there is a probability sufficient to undermine

confidence in the outcome of the trial. See Eckstein v. Kingston, 460 F.3d 844, 848 (7th Cir.

2006) (quoting Strickland, 466 U.S. at 694); United States v. Best, 426 F.3d 937, 945 (7th Cir.

2005) (quoting Strickland, 466 U.S. at 694). Jeremie Sheneman’s convictions resulted from the

fact that the government presented ample and convincing evidence of his guilt, not because of

any failure on the part of his attorney, whose performance at trial was thorough and professional.




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The mere fact that counsel’s defense strategy was unsuccessful does not render counsel’s

assistance constitutionally ineffective. See Strickland, 466 U.S. at 689.

       Considering the entirety of Jeremie Sheneman’s objections to Mr. Truitt’s performance

and the extensive record of this case, the Court concludes that Jeremie Sheneman has not

satisfied the two requirements in Strickland for showing ineffective assistance of counsel, and

there is no basis upon which to afford him a new trial.

B.     Insufficiency of the Evidence

       Jeremie Sheneman’s counsel has given short shrift to any contention that a new trial is

warranted because the evidence did not support the convictions. However, a movant under Rule

33 bears the responsibility of developing his arguments and presenting the court with adequate

grounds and authority to grant the relief requested, and this Court does not bear the obligation of

researching and constructing the legal arguments open to the parties, especially when they are

represented by counsel. Beard v. Whitley County REMC, 840 F.2d 405, 408-09 (7th Cir. 1988)

(citation omitted). This is true even in the criminal context. United States v. Holm, 326 F.3d

872, 877 (7th Cir. 2003) (citing Sanchez v. Miller, 792 F.2d 694, 703 (7th Cir. 1986)). The fact

that the sufficiency of the evidence claim is undeveloped, results in a waiver of the argument.

However, the Court notes that such an argument would fail on the merits in any event.

       To convict Jeremie Sheneman of wire fraud under 18 U.S.C. § 1343, the government had

to prove that he: (1) knowingly participated in a scheme to defraud; (2) had the intent to defraud;

(3) used materially false pretenses, representations or promises; and (4) used the wires in

furtherance of the fraudulent scheme as alleged in the particular count of the indictment. See

United States v. O'Connor, 656 F.3d 630, 644 (7th Cir. 2011); Henningsen, 387 F.3d at 589.


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       Again, as extensively summarized in this Order, the evidence offered at trial amply

supported Jeremie Sheneman’s convictions of wire fraud under 18 U.S.C. § 1343, as alleged in

the four counts of the indictment. Jeremie and Michael Sheneman engaged in a fraudulent

scheme that involved buying houses for a little and selling them for a lot, and they conducted the

scheme as a team. Jeremie Sheneman falsified the loan documents which were sent to the

lenders to secure the mortgages, and Michael Sheneman provided the financial backing to pay

for the down payments and pad the buyers’ bank accounts. Jeremie Sheneman fulfilled his role

by working through Tri State Mortgage or Superior Mortgage, having buyers sign blank pieces

of paper, and completing their loan applications and purchase agreements with copied signatures

and materially false information, knowing what it took to get the subprime loans issued. Jeremie

and Michael Sheneman told the buyers falsehoods to get them to buy into the investment

scheme, purchase multiple properties sight unseen, and sign-off on closing documents without

sufficient time for review. In the end, the proceeds of the sales went to Jeremie and Michael

Sheneman, and the unqualified buyers and unsuspecting lenders were left with defaulted loans.

The evidence of Jeremie Sheneman’s guilt is more than sufficient, it is overwhelming.

        Because there is simply no basis upon which to grant a new trial and the interest of

justice does not require the Court to do so, the Court denies Jeremie Sheneman’s request.

                                           V. Conclusion

       Based on the foregoing, Mr. Sheneman has not shown that he was denied effective

representation, that the evidence was insufficient to support his convictions, or that the interest

of justice requires the Court to grant his Rule 33 motion. Accordingly, the Defendant’s

Amended Motion for a New Trial [DE 138] is DENIED, and the Clerk is DIRECTED to TERM


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the original Motion for a New Trial [DE 63], for the reasons stated herein. Given that no hearing

was necessary to rule on this matter, the government’s request to enter an order waiving the

attorney/client privilege is also DENIED [DE 141].

       SO ORDERED.

       ENTERED: May 18, 2012


                                                   /s/ JON E. DEGUILIO
                                             Judge
                                             United States District Court




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